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Ruben Duran (SBN: 197780) Lo ded propasee| ‘oder

rduran meyersnave.com

 

Lala Kahramanian (SBN: 256066)

lkahramanian@meyersnave.com

MEYERS, NAVE, RIBACK, SILVER & WILSON

333 South Grand Avenue, Suite 1670 “

Los Angeles, California 90071 :

Telephone: (213) 626-2906

Facsimile: (213) 626-0215

Attorneys for Custodian of Records for the “1

City of Desert Hot Springs Police rp

Department ry

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UNITED STATES DISTRICT COU f, i GR
ee f
CENTRAL DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA, CASE NO. 2:10-CR-00163-TJH
Plaintiff, NOTICE OF MOTION AND MOTION
TO QUASH SUBPOENA;
V. MEMORANDUM OF POINTS AND

AUTHORITIES; DECLARATION OF

ANTHONY ALONZO SCLAFANI, LALA KAHRAMANIAN IN

SUPPORT OF THEREOF
Defendant.

Date: — August 22, 2011
Time: 10:00 a.m.
Courtroom: 17
Date of Compliance: August 22, 2011
Time of Compliance: 10:00 a.m.
Courtroom: 17

 

 

 

MTN TO QUASH SUBPOENA; MEMO OF P'S & A'S; KAHRAMANIAN DECL.

 

 

 
 

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:10-cr-00163-TJH (Document 67 Filed 08/11/11 Pagé 3 of 32 Page ID #:527

PLEASE TAKE NOTICE that on August 22, 2011 at 10:00 a.m. at 312 North
Spring Street, Los Angeles, California, Courtroom 17, Respondent Custodian of
Records for the City of Desert Hot Springs Police Department (“Custodian” or
“Respondent”) will move to quash Defendant Anthony Alonzo Sclafani’s
(“Defendant”) subpoena.

Respondent objects to Defendant’s subpoena served on or about June 14,
2011, seeking, among other categories of documents and things, the complete
personnel files and background records of Desert Hot Springs police officers who
are not parties in the underlying criminal case. Respondent seeks that the subpoena
be quashed on the grounds that disclosure of the records would violate the statutory
confidentiality and privilege of the officers and individuals not parties to the
underlying proceedings. .

This motion is based on this notice and motion, the memorandum of points
and authorities filed herewith, all matters that may or must be judicially noticed, the
pleadings and papers herein, and all matters that may or must be raised at hearing on

this motion.

DATED: August 11, 2011 MEYERS, NAVE, RIBACK, SILVER &
WILSON

py HME cc

Lala Kahramanian

Attorneys for Custodian of Records for the
City of Desert Hot Springs Police
Department

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MTN TO QUASH SUBPOENA; MEMO OF P'S & A'S; KAHRAMANIAN DECL.

 

 

 

 
 

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I. INTRODUCTION

Defendant seeks twelve (12) categories of documents, photographs, video
footage, and tape recordings, the majority of which implicate the privacy rights of
Desert Hot Springs (“DHS”) police officers. Due to the overbroad nature of the
requests, it is impossible for the Custodian to comply with the request without
violating the recognized privacy rights of DHS police officers. With regard to the
instant subpoena, the Custodian objects to eight of the twelve requests on the
grounds that these requests are impermissibly vague and overbroad, and the requests
impermissibly invade the federal and state statutory and common law privileges of
DHS peace officers. The Custodian further objects to two of the Defendant’s
requests on the grounds that Defendant has failed to demonstrate the relevancy of
these requested documents.

Federal law recognizes an individual’s right to privacy, and even in instances
of public employment-such as peace officers-a qualified right to privacy operates to
protect individuals from wanton and indiscriminate disclosure. Moreover, in
California, the records of peace officers are confidential, and only certain designated
individuals and entities are entitled to view them. California Evidence Code §1043
et seq.; California Penal Code §§ 832.5, 832.7, and 832.8. Colloquially referred to
as Pitchess motions, the statutory scheme laid out in California Evidence Code
section 1043, et seq. represents the exclusive means for accessing a peace officer’s
personnel files in any California civil or criminal proceeding.

Based upon both federal and state law, and absent a Court Order and
Protective Order, Respondent requests that the Court either require Defendant to
establish the materiality, necessity, and relevance of demanding documents which
contain confidential and privileged materials. Alternatively, Respondent requests
sufficient time that would allow the Respondent to conduct its review of these
voluminous records for presentation to the Court for an in camera review as to

whether they need to be produced at all. Lastly, should these records be produced,

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MTN TO QUASH SUBPOENA; MEMO OF P'S & A'S; KAHRAMANIAN DECL.

 

 
 

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then Respondent respectfully requests that the accompanying Protective Order be

issued along with the documents.
Hl. INFORMATION SOUGHT

Defendant seeks the following information from the Custodian of Records:

1.
2.
3.
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Request a copy of the Internal Affairs Investigation interview
tapes that were conducted on the Internal Affairs investigations on
the Jamal White case, that occurred on February 24, 2005, and the
Angelica Vargas case, on February 25, 2005. The IA
investigations were conducted by Internal Affairs Connections,
Inc., and the investigator was Daniel R. Tregarthen. The IA
investigations were conducted between February 25, 2005 and
June 2005. The interview tapes were released to the Desert Hot

Springs Police Department to the Assistant Chief, Mike Hole and
those tapes would be kept in the IA files in the Chief’s Office.

Copies of RIMS individual records listing the specific detail
information for each call on the dates of February 25, and
February 26, 2005. These records previously requested but only
the detail RIMS information reports were provided for February
24, 2005, were provided by the department. See attached RIMS
incident Summary report for details.

Request a copy of the 2007 DHSPD Management Study
regarding staffing evaluations and recommendations. This study
was conducted by Lewis Partners and was conducted by a Chief of
Police from a Northern California Department possibly named

Mike McCraney or similar sounding name. (Unknown correct

spelling.) |

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MTN TO QUASH SUBPOENA; MEMO OF P'S & A'S; KAHRAMANIAN DECL.

 

 
 

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10.

 

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Request a copy of Sgt. Anthony Sclafani’s shooting incident
report(s) for a shooting that occurred in 2007 with the suspect,
James French.

Requesting digital copies of the booking photographs of the arrest
of Jamal White on February 24, 2005, and the booking
photographs on the arrest of Angelica Vargas on February 25,
2005. SEE ATTACHMENTS: Page #2 additional documents
being subpoenaed.

Request copies of any and all documents of the injuries sustained
to Jamal WHITE on February 24, 2005, and Angelica Vargas on
February 25, 2005, due to being pepper sprayed or. tased on those
date.

Request copy of photograph of former officer Dennis Decker from
his ID card or other photo in his Personnel file.

Request a complete copy of Andrea Heath’s personnel file up and ~

‘through June 2011. Those records should include any and all IA

investigations or other investigations or counseling sessions
conducted or being conducted on or against Andrea Heath.
Request a complete copy of any and all complaints Andrea Heath
has made against the department including complaints against the
Chief, Command Staff, Sgt. Anthony Sclafani and any other
officer or officers on the department. To include any and all IA
investigative reports regarding those complaints.

Request a complete copy of all training records including any
Performance Improvement Plans, and copies of the FTO training
officers daily observation reports and any all records regarding

Andrea Heath’s fitness for duty up to and including any medical

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MTN TO QUASH SUBPOENA; MEMO OF P'S & A'S; KAHRAMANIAN DECL.

 

 
 

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or psychological evaluations stating she is fit to return to duty at
this time.

11. Request a copy ofa current video recording for any one minute in
duration of the camera on the monitors from cameras #8 and 9 that
are in the holding cells in the DHSPD jail. The position of those
cameras are in the same location as they were back in 2005.

12. Request a copy of any and all medical records or investigations
including and all investigations being conducted regarding Andrea
Heath and Sgt. Gabby Mendoza by the Desert Hot Springs Police
Department or any other agency.

The Desert Hot Springs Custodian objects and hereby moves to quash

the subpoena; or alternatively, asks that the Court review the documents in

‘|| camera in order to limit the scope of the Subpoena, and respectfully requests

that the Court issue the accompanying Protective Order.
UI. ARGUMENT

A. Authority for Motion to Quash/Protective Order

Courts are empowered to make any order necessary to protect a party,
witness, consumer, or employee from oppressive demands, including
unreasonable violations of the right of privacy of a witness, consumer, or
employee. Fed. R. Civ. P. Rule 26(c). Furthermore, Courts are empowered to
issue protective orders to limit discovery, and “may make any order which
justice requires to protect a party or person from annoyance, embarrassment,
oppression, or undue burden or expense, including one of the following. ..(D)
forbidding inquiry into certain matters, or limiting the scope of disclosure or
discovery to certain matters....” Fed. R. Civ. P. Rule 26(c); see also Young v.
Hernandez, 2007 U.S. Dist. LEXIS 21157 at *9 (S.D. Cal. 2007) (the scope

of plaintiffs subpoenas. ..must be limited...Production of the entire files

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MTN TO QUASH SUBPOENA; MEMO OF P'S & A'S; KAHRAMANIAN DECL.

 

 
 

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would result in improper disclosure of official documents and impose
unnecessary burden on the custodian).

Moreover, courts have authority to apply civil discovery rules in the
criminal context. United States of America v. Marcus Schloss & Co., Inc.,
1989 U.S. Dist. LEXIS 6271 at *4 (S.D. N.Y. 1989); see also United States v.
Paxton, 861 F.2d 730, 735-36 (D.C. Cir. 1988) (applying FRCP Rule 26
principles in quashing subpoena duces tecum served by defendant in a
criminal proceeding).

B. The Subpoena is Overbroad, Unreasonable, and Oppressive

On or around June 14, 2010, the Custodian of Records for the City of
Desert Hot Springs received a subpoena from defense counsel Michael D.
Schwartz requesting production of twelve (12) different categories of
documents, photographs, video footage, and tape recordings. The requests
pertain to internal affairs investigations, the entire contents of the personnel
files of at least two Desert Hot Springs police officers, as well as a variety of
other requests which include photographs, a Management Study, and video
recordings. Due to the overbroad nature of the requests, it is impossible for
the Custodian to comply with the request without violating the recognized
privacy rights of DHS police officers.

C. The Subpoena Seeks Sensitive and Confidential Information

In this case, Defendant seeks documents that both federal common law
and the California Legislature have deemed should be confidential, and
disseminated only to a certain select group, and only as necessary. California
Penal Code § 832.7(a) provides, in part:

A peace officer or custodial officer personnel records and records

maintained by any state or local agency pursuant to Section 832.5 or

information obtained from these records, are confidential and shall not

be disclosed in any criminal or civil proceeding except by discovery

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MTN TO QUASH SUBPOENA; MEMO OF P'S & A'S; KAHRAMANIAN DECL.

 

 

 
 

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pursuant to Sections 1043 and 1046 of the Evidence Code.

California Evidence Code § 1043 states, in pertinent part:

(1)...the party seeking [peace or custodial officer personnel records] |

shall file a written motion with the appropriate court...upon written

notice to the governmental agency...(b) the motion shall include the

following: (1)...(2) A description of type of records or information

sought...(3) Affidavits showing good cause for the discovery or

disclosure sought, setting forth the materiality thereof to the subject

matter involved in the pending litigation...

Federal common law also recognizes a qualified right to privacy. Stafford v.
Social Security Administration et al., 2006 LEXIS 20124 at *7 (N.D. Cal. 2006).
Parties may obtain discovery regarding “...any matter, not privileged, that is
relevant to the claim or defense of any party.” Fed. R. Civ. P. Rule 26(c)(1).
Federal common law also recognizes a qualified privilege for official information.
Young v. Hernandez, 2007 U.S. Dist. LEXIS 21157 at *3-4; citing Kerr v. United
States Dist. Ct. for ND Cal., 511 F.2d 192 (9th Cir. 1975). Government personnel
files are considered official information. Young at *4 (citations omitted). In
applying this right to privacy, the Stafford Court used a balancing test which
weighed the need for the information sought against the privacy right asserted. Id.
The Court looked at four factors as it weighed the competing interests: (1) the
relevance of the requested materials to the litigation, (2) whether the requested
information was available from alternative, less intrusive sources; (3) whether a
protective order could be fashioned to address any concerns over disclosure and (4) .
what was the resultant harm, if the information was ordered disclosed. Id.

In this case, Respondent has demonstrated legitimate concerns
regarding the sensitive and confidential nature of the documents sought by the
Defendant. Moreover, Respondent has presented sufficient authority to

support an order to quash the Defendant’s Subpoena; or at the very least, for

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MTN TO QUASH SUBPOENA; MEMO OF P'S & A'S; KAHRAMANIAN DECL.

 

 

 
 

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the Court to conduct an in camera review in order to limit the scope of the
Defendant’s requests.
~ D. Defendant has Failed to Demonstrate that the Materials Sought Are __
Relevant

Rule 17(c) is not a method of discovery in criminal cases and “courts
must be careful that Rule 17(c) is not turned into a broad discovery device
undercutting the strict limitation of discovery in criminal cases found in Fed.
R. Crim. P. 16.” United States v. Cherry, 876 F.Supp.547, 552 (S.D.NY
1995); citing United States. v. Cuthbertson, 630 F.2d 139, 146 (3rd Cir.

1980). To ensure that Rule 17(c) subpoenas are not so abused, a party
seeking production of documents must demonstrate that the materials sought
are (1) relevant; (2) admissible; and (3) specifically identified. U.S. v.
Cherry, supra, at 552 (citations omitted).

In United States v. Fields, the Ninth Circuit reversed the district court’s
denial of a nonparty witness’s motion to quash a Rule 17 subpoena on the
grounds that defendants had failed to demonstrate compliance with the factors
required for the issuance of a subpoena, including the requirement that the
materials sought be evidentiary and relevant. United States v. Fields, 663
F.2d 880 (9th Cir. 1981). The Court further held that evidentiary use of
statements and transcribed interviews of witnesses for impeachment purposes
was insufficient to justify the pretrial production of documents. Id. .

In the instant matter, Defendant has not proffered evidence establishing
the relevance of the confidential information. Given Respondent’s concerns
regarding the sensitive and confidential nature of the documents sought by the
Subpoena, Respondent is seeking an order quashing the extreme overbreadth
of the Subpoena. In the alternative, Respondent requests that the Court

conduct an in camera review in order to limit the scope of the Subpoena.

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MTN TO QUASH SUBPOENA; MEMO OF P'S & A'S; KAHRAMANIAN DECL.

 

 
 

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E. Meet and Confer Process Between the Parties
Respondent’s counsel has engaged in written correspondence,

telephone calls and e-mail communications with defense counsel with the

 

 

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intent to limit the scope of the Subpoena. See Declaration of Lala
Kahramanian. The parties were unable to reach an agreement regarding their
respective positions, and Respondent has no choice but to file this instant
Motion.
IV. CONCLUSION

For the reasons stated above, this Court should issue an order quashing
the Subpoena. In the alternative, Respondent asks that the Court review the
documents in camera in order to limit the scope of the Subpoena, and
respectfully requests that the Court issue the accompanying Protective Order

if any records are ordered to be disclosed.

DATED: August 11, 2011 MEYERS, NAVE, RIBACK, SILVER &
WILSON

By: A: ctrl.

Vala Kahramanian
Attorneys for Custodian of Records for the
City of Desert Hot Springs Police
Department

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MTN TO QUASH SUBPOENA; MEMO OF P'S & A'S; KAHRAMANIAN DECL.

 

 

 

 
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DECLARATION OF LALA KAHRAMANIAN

I, Lala Kahramanian, declare:

1. Tam an attorney duly licensed to practice before this Court and am an

 

 

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associate at Meyers, Nave, Riback, Silver, & Wilson, attorneys for the Custodian of
Records for the Desert Hot Springs Police Department (“Respondent”). The facts
set forth herein are of my own personal knowledge and if sworn I could and would
testify competently thereto.

2. I make this declaration in support of Respondent’s Motion to Quash.

3. On or about June 14, 2011, Defendant Anthony Alonzo Sclafani served
Respondent with a subpoena.

. 4, The subpoena sought, among other categories of documents and things,
the complete personnel files and background records of Desert Hot Springs police
officers who are not parties in the underlying criminal case.

5. On June 24, 2011, I sent a letter to counsel for defendant, Mr.
Schwartz, objecting to a majority of the requests in the subpoena on the grounds that
the requests violated the privacy rights of Desert Hot Springs (“DHS”) police
officers. In this letter, I suggested that we resolve the parties’ positions informally
via a telephone conference with the Magistrate Judge.

6. During the course of the few weeks following the June 24th letter, I
engaged in several phone conversations with Mr. Simidjian, a colleague of Mr.
Schwartz, who was also representing Mr. Sclafani in the underlying criminal
proceeding. These discussions were intended to limit the scope of the subpoena,
and to prevent resorting to judicial intervention.

7. On August 1, 2011, I sent a letter to Mr. Simidjian proposing that we
meet and confer regarding our clients’ respective positions.

8. On August 3, 2011, Mr. Simidjian and I met and conferred via
telephone. However, we were unable to reach an agreement regarding the scope of

the subpoena.

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MTN TO QUASH SUBPOENA; MEMO OF P'S & A'S; KAHRAMANIAN DECL.

 

 

 

 
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9. During the few days preceding and following the August 3rd telephone
conversation, Mr. Simidjian represented to me that his office attempted to find out

which Magistrate Judge was assigned to handle discovery matters in this case so that

 

 

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the parties could have the matter heard in front of the Magistrate. However, Mr.
Simidjian notified me that despite numerous attempts to contact the court, his office
was unable to obtain the name of the Magistrate Judge.

10. On August 5, 2011, Mr. Simidjian and I continued to correspond via e-
mail regarding our client’s respective positions. However, as of the date of the
signing of this declaration, the parties have been unable to reach an agreement
regarding the scope of the subpoena and the Respondent’s concerns regarding the
violation of the DHS police officers’ privacy rights.

11. Attached as Exhibit “A” is the Defendant’s Subpoena.

12. Attached as Exhibit “B” is the June 24th letter addressed to defense
counsel.

13. Attached as Exhibit “C” is the August Ist letter to defense counsel.

I declare under the penalty of perjury under the laws of the United States of
America that the foregoing is true and correct.

Executed on August 11, 2011, at Los Angeles, California.

 

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MTN TO QUASH SUBPOENA; MEMO OF P'S & A'S; KAHRAMANIAN DECL.

 

 
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Attorney's Name, Address & Phone:

Michael D. SCUIWARTZ. ESQ. (CSB# 166556
SILVER, HADDEN,. SILVER, WEXLER & LEVINE
1428 Second Street, Suite 200, 9.0. Box 2161

Santa Monica, California, 909-107-2161

 

 

 

 

 

310-393-1-186

 

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIPORNIA
CASE NUMBER

United States of America
PLAIN TIER
meal 2:10-er-00163-UA

v

ANTHONY ALONZO SCLAVFANI -

 

SUBPOENA IN A CRIMINAL CASE

 

DEFENDANTS).
TO: Commander Dan Bressler, COR, Desert Hot Springs PD, 65-950 Pierson Blvd, Desert {lot Springs. California.

DO YOU ARK HEREBY COMMANDED to appear in the United States District Court at the place, date and time
specified below ty testify in the above case.

Place: Roybal Federal Building, 255 E. Temple Strecl. Los Angeles, Califomia, 90012 | Courtroom: 17

Date: August 8, 2011 . Time: 9:00 AM

& YOU ARE ALSO COMMANDED to bring with you the following document(s) or object(s):

| Request copy of the aternal Affairs fnvestgatior: interview tapes tat were conducted on -he Internal AMnirs
investizalions on the Jamal WHITE case, thet ocsurred on Februacy 241, 2005, and the Angeiica VARGAS case, on
February 25. 2005. Nhe dA invetigatioas were conducted by internal Afuirs Connections, Inc., and the investigator was
Daniel 8. ‘Iregarthes. The fA investigations were conducted between February, 2005, and June. 2005. ‘The interview tapes
were released lo the Desert Hot Springs Police Department to the Assistant Chief. Mike Hole and those tapes would be kept

in the [A files in the Chiefs Qiiice.

June 14, 2011
Date

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Terry Natisi, Werk of Cott

 

CR-2F (O90) SUBFOFRNA ON CRIMINAL CASE Page 1 of2

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Attorney's Name. Address & Phone:

Michael D. SCLIWAR TA. ESQ. (CSBH 166536
SILVER, HAQDEN, SILVER. WEXLER & LEVINE
1428 Second Street. Suite 200, P.O, Box 216]

 

Santa Monica, California 0d 072 Wey
310-393-1486

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CASI NUMBER

United States of Amertca
PLAIMELFF
PLAINTIEI 2: 10-cr-O0163-UA

vy

ANTHONY ALON?‘ SCLAFANE

 

“SUBPOENA IN A CRIMINAL CASE.
DEFENDANTS).

 

FO: Commander Dan Bressler, COR, Desert Hot Springs PD. 65-950 Pierson Bivd.. Desert [ot Springs, California

O YOU ARE HEREBY COMMANDED to appear in the United States District Court al the place, date and time
specified Selo. to teuli’y in the above case. ,

 

 

Place: Roybal Federal [tt ilding, 243 £:. Temple Street, Los Angeles, California. 90012 Courtroom: 17
Date: August 8, 201) | Time: 3: 000 AM

mf YOU ARE, ALSO COMMANDED to bring with you the following document(s) or object(s):

1. Copies of the REMS individual records listing the specific detail information for each call on the dates of February 25,
and February 26. 2003, These records previously requested but only the detail RIMS detail information reports were
provided for “ebruery 2200S, were provided by the department. See attached RIMS incident Sammary report for details.

Request a cop) of the 2097 DEUSPD Management Study regarding staffing evaluations and recommendations. This study
was conducted by Lewis Partners and was conducted by a Chief of Police fron a Northern California Police Department

possibly named Mi} 2 Me Craney oc simiar sounding name, (Unknown correct spelling)

3. Request a copy of Set. Anthony Sehvani's shooting incident report (s) for a shooting that occurred in 2007 wilh the

suspect, James Fron.

4, Requesting digitel capies of the booking photegraphs of the arrest of Jamal White on February 24, 2005. and the booking

photographs on the arrest of Angelica Vargas on February 25. 2005.
SEE ATTAC VENTE NTS: Page # 2 additional documents being subpoenaed,
To

4 QM (2 apa June 1.2011

Terry Nafisi. at at Coutt Nate

 

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SUBPOENA ATTACHMENTS
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

 

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United States of America
vw
Anthony Alonzo SCLAFANI
2:10-c7-00163-UA

Request copies of any and all photographs of the injures sustained to Jamal WHITE on February 24,
2005, and Angelica VARGAS on February 25, 209°, due (3 bei1g pepper sprayed or tased on those date.

Request copy of photog:asl. f former offfuer Mearis Decker fom his ID card or other photo in his
Personnel file.

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Request acoraplete copy of Andrea Heath’s personnel file up to and through June, 2011. Those records
should include aay and all LA investigations or athez investigations or counseling sessions conducted or
being conducted on or against Andrea Heath.

Request s complete copy of any and a!! comp‘aints Andrea Heath has made against the department
inc:uding complaints against the Chief, Commend Staff. Sgt. Anthony Sclafani and any othe: officer or
officers on the department. ‘To include any and all [A investigative reports regarding those complaints.

Request 1 complete copy of all iraining records including any Performance Improvement Plans, and
copies of the FTO training officers daily observation reports and any and all records regarding Andrea
“oath’s fitness (hr duty un io an including ary niedical or psychological evaluations stating she is fit to
rehire: to dot: at this time.

Request a copy of a current video recording for any ene minute in duration of the camera views on the
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Case 2:10-cr-00163-TJH (Ddcument 67 Filed 08/11/11 Pagé 18 of 32 Page ID #:541

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Case 2:10-cr-00163-TJH (Document 67 Filed 08/11/11 Pagé 18 of 32 Page ID #:543

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Case 2:10-cr-00163-TJH (Document 67. Filed 08/11/11 Pagé 1p of 32 Page ID #:544

   

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Case 2:10-cr-00163-TJH (Ddcument 67 Filed 08/11/11 Page 29 of 32 Page ID #:545

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Case 2:10-cr-00163-TJH (Dgcument 67 Filed 08/11/11 Pagé 2} of 32 Page ID #:546

333 South Grand Avenue, Suite 1670 Lala Kahramanian

Los Angeles, California 90071 Attorney at Law
tel 213.626.2906 lkahramanian@meyersnave.com
fax 213.626.0215

www. meyersnave.com

 

June 24, 2011

VIA FACSIMILE
(31) 395-5801

Michael D. Schwartz

SILVER, HADDEN, SILVER, WEXLER &
LEVINE

1428 Second Street, Suite 200

Santa Monica, CA 90407-2161

Re: United States v. Anthony Alonzo Sclafani
US. District Court, Central District, Case No. 10-CR-00163-UA

Dear Mr. Schwartz:

This office serves as the City Attomey for the City of Desert Hot Springs. This letter is
written in response to the two subpoenas that were issued by the court on behalf of your
client in the above-referenced case. The City of Desert Hot Springs hereby objects to a
majority of your requests in the interest of protecting the statutorily-sanctioned privacy
rights of the City’s peace officers. As you may know, there is a conflict between state and
federal law regarding the requested documents. Under state law, an officer's personnel file
as well as internal affairs investigation reports are considered both official information and
privileged documents, which are not subject to disclosure. (Evidence Code § 1040; Penal
Code § 832, et sa.) Thus, the City could potentially be liable for disclosing that material
without an order of the Court. .

To resolve this matter as expeditiously as possible, we propose that the parties discuss the
issues further with the magistrate judge in the form of an informal telephonic conference.
As a further safeguard to the officers’ privacy rights, we will ask the Court to conduct an i
camera review, and we will also seek a protective order in the event that any information is

ordered to be disclosed.

A PROFESSIONAL LAW CORPORATION OAKLAND LOS ANGELES SACRAMENTO SAN FRANCISCO SANTAROSA FRESNO

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Case 2:10-cr-00163-TJH (dcument 67 Filed 08/11/11 Pagé 22 of 32. Page ID #:547

Michael D. Schwartz
June 24, 2011
Page 2

 

 

Please contact us at your earliest convenience so that we may make the necessary —
arrangements with the Court. We look forward to discussing these matters with you directly
in hopes of promptly resolving this issue.

Very truly yours
‘ ’
U (heute ~~ ™
Lala Kahramanian

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c: Patrick Williams, Chief of Police
Dan Bressler, Police Commander
Jason Simpson, Assistant City Manager
Ruben Duran, City Attomey

1666809.5

A PROFESSIONAL LAW CORPORATION OAKLAND LOS ANGELES SACRAMENTO SAN FRANCISCO SANTAROSA FRESNO

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Case 2:10-cr-00163-TJH (Dcument 67 Filed 08/11/11 Pagé 28 of 32 Page ID #:548

333 South Grand Avenue, Suite 1670 —_ Lala Kahramanian

Los Angeles, California 90071 Attorney at Law
tel 213.626.2906 tkahramanian@meyersnave.com
fax 213.626.0215

www.meyersnave.com

meyers|nave

August 1, 2011

VIA FACSIMILE
(310) 395-5801

Michael Simidjian

SILVER, HADDEN, SILVER, WEXLER &
LEVINE

1428 Second Street, Suite 200

Santa Monica, CA 90407-2161

Re: United States v. Anthony Alonzo Sclafani
U.S. District Court, Central District, Case No. 10-CR-00163-DA

Dear Mr. Simidjian:

I have made several efforts to informally resolve our clients’ respective positions concerning
the two subpoenas that were issued by the Court on behalf of your client in the above-
referenced case. As indicated in the earlier correspondence, and during our numerous
telephone conversations, the City of Desert Hot Springs (“the City’ or “DHS”) objects to a
majority of your requests in the interest of protecting the privacy rights of the City’s peace
officers. I have attempted to contact you via telephone over the past few weeks, and I have
left you at least three messages, but I have not received a response. Pursuant to Federal
Rules of Civil Procedure, Rule 37 and Local Rule 37 et seq., this is my final effort to resolve
the manner informally before resorting to judicial intervention.

Your client is requesting the following information:

1. [A] copy of the Intemal Affairs Investigation interview tapes that were conducted on
the Internal Affairs investigations on the Jamal White case, that occurred on
February 24, 2005, and the Angelica VARGAS case, on February 25, 2005. The IA
investigations were conducted by Internal Affairs Connections, Inc., and the
investigator was Daniel R. Tregarthen. The IA investigations were conducted
between February 25, 2005 and June 2005. The interview tapes were released to the
Desert Hot Springs Police Department to the Assistant Chief, Mike Hole and those
tapes would be kept in the IA files in the Chief’s Office.

This Request is overly broad and it seeks confidential information of former and
current DHS police officers. Parties may obtain discovery regarding “. .. any matter,
not privileged, that is relevant to the claim or defense of any party.” Fed. R. Civ. P.

A PROFESSIONAL LAW CORPORATION OAKLAND LOS ANGELES SACRAMENTO SANFRANCISCO SANTAROSA FRESNO

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Case 2:10-cr-00163-TJH (Ddcument 67 Filed 08/11/11 Pagé 24 of 32 Page ID #:549

Michael Simidjtan
August 1, 2011
Page 2

Rule 26(b)(1). However, Courts are empowered to make an order necessary to
protect a party, witness, consumer or employee from oppressive demands, including
unreasonable violations of privacy. Fed, R. Civ. P. Rule 26 (c). Furthermore, courts
are empowered to issue protective orders to limit discovery, and “may make any
order which justice requires to protect a party or person from annoyance,
embarrassment, oppression, or undue burden or expense, including one of the
following:... (D) forbidding inquiry into certain matters, or limited the scope of
disclosure to certain matters. Fed. R. Civ. P Rule 26(¢). Moreover, the courts have
acknowledged that federal law recognizes a qualified right to privacy. Stafford u Sodal
Security A dhnivistration et al, 2006 WL 870988 (ND. Cal. 2006), at *2. Finally, in
California, the records of peace officers are confidential, and only certain designated
individuals and entities are entitled to view them. (California Evidence Code §1043 et
seq.; California Penal Code §§832.5. 832.7, and 832.8).

This Request seeks a tape recording concerning an IA investigation into the Jamal
White case. The City objects to this request insofar as the tape recording may
include confidential information concerning the City’s officers, employees, or other
third persons. Alternatively, and assuming that such a tape exists, the City will
request that the Court conduct an in camera review prior to disclosing any
information, The City will also seek a protective order in the event that any
information is ordered to be disclosed. (See Kaly u City of San Jose, 1987 USS. Dist.
LEXIS 15271, at *3,)

2. Copies of RIMS individual records listing the specific detail information for each call
on the dates of Febraury 25, and February 26, 2005. These records previously
requested but only the detail RIMS information reports were provided for February
24, 2005, were provided by the department. See attached RIMS incident Summary
report for details.

The City does not object to this request and it will disclose the information pursuant
to a protective order.

3. Request a copy of the 2007 DHSPD Management Study regarding staffing
evaluations and recommendations. This study was conducted by Lewis Partners and
was conducted by a Chief of Police from a Northern California Department possibly
named Mike McCraney or similar sounding name. (Unknown correct spelling)

This Request is overly broad, and it seeks confidential information concerning
former and current DHS police officers and/or employees. Parties may obtain
discovery regarding “. . . any matter, not privileged, that is relevant to the claim or
defense of any party.” Fed. R. Civ. P. Rule 26(b)(1). However, Courts are
empowered to make an order necessary to protect a party, witness, consumer or
employee from oppressive demands, including unreasonable violations of privacy.
Fed. R. Civ. P. Rule 26 (c). Furthermore, courts are empowered to issue protective
orders to limit discovery, and “may make any order which justice requires to protect

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a party or person from annoyance, embarrassment, oppression, or undue burden or
expense, including one of the following:... (D) forbidding inquiry into certain matters,
or limited the scope of disclosure to certain matters. Fed. R. Civ. P Rule 26(c).
Moreover, the courts have acknowledged that federal law recognizes a qualified right
to privacy. Stafford u Socal Secmity Administration et al,, 2006 WL 870988 (N.D. Cal.
2006), at *2. Finally, in California, the records of peace officers are confidential, and
only certain designated individuals and entities are entitled to view them. (California
Evidence Code §1043 et seq,; California Penal Code §§832.5. 832.7, and 832.8).

The City objects to this request insofar as the Study may include confidential
information concerning the City’s police officers, employees, or other third persons.
Assuming that such a Study exists, the City will request that the Couxt conduct an in
camera review prior to disclosing any information. The City will also seek a
protective order in the event that any information is ordered to be disclosed. (See
Kelly u City of San Jose, 1987 US. Dist. LEXIS 15271, at *3,)

4, Request a copy of Sgt. Anthony Sclafani’s shooting incident report(s) for a shooting
that occurred in 2007 with the suspect, James French.

This Request is overly broad, and it seeks confidential information concerning
former and current DHS police officers. Parties may obtain discovery regarding “. . .
any matter, not privileged, that is relevant to the claim or defense of any party.” Fed.
R. Gv. P. Rule 26(b)(1).. However, Courts are empowered to make an order
necessary to protect a party, witness, consumer or employee from oppressive
demands, including unreasonable violations of privacy. Fed, R. Civ. P. Rule 26 (c).
Furthermore, courts are empowered to issue protective orders to limit discovery, and
“may make any order which justice requires to protect a party or person from
annoyance, embarrassment, oppression, or undue burden or expense, including one
of the following:... (D) forbidding inquiry into certain matters, or limited the scope of
disclosure to certain matters. Fed. R. Civ. P Rule 26(). Moreover, the courts have
acknowledged that federal law recognizes a qualified night to privacy. Stafford v Sodal
Security A drrinistration et al., 2006 WL 870988 (N.D. Cal. 2006), at *2. Finally, in
California, the records of peace officers are confidential, and only certain designated
individuals and entities are entitled to view them. (California Evidence Code §1043 et
seq.; California Penal Code §§832.5. 832.7, and 832.8).

The City does not object to disclosure of Sergeant Sclafani’s shooting incident
report(s) for a shooting that occurred in 2007 with the suspect, James French.
However, to the extent that these reports may mention other DHS police officers or
employees, the City will request that the Court conduct an in camera review. The.
City will also move to redact those documents or sections which implicate the
privacy rights of third party individuals. The City will also seek a protective order in
the event that any information is ordered to be disclosed, (See Kelly u City of San Jose,
1987 US. Dist. LEXIS 15271, at *3,)

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5, Requesting digital copies of the booking photographs of the arrest of Jamal White on
February 24, 2005, and the booking photographs on the arrest of Angelica Vargas on
Febuary 25, 2005. SEE ATTACHMENTS: Page # 2 additional documents being
subpoenaed,

The City does not object to disclosure of the booking photographs of Jamal White
on February 24, 2005, and Angelica Vargas on February 25, 2005.

6. Request copies of any and all documents of the injuries sustained to Jamal WHITE
on February 24, 2005, and Angelica VARGAS on February 25, 2005, due to being
pepper sprayed or tased on those date.

This Request is overly broad, and it seeks confidential information concerning
former and current DHS police officers . Parties may obtain discovery regarding “. .
. any matter, not privileged, that is relevant to the claim or defense of any party.”
Fed. R. Civ. P. Rule 26(b)(1). However, Courts are empowered to make an order
necessary to protect a party, witness, consumer or employee from oppressive
demands, including unreasonable violations of privacy. Fed, R. Civ. P. Rule 26 (c).
Furthermore, courts are empowered to issue protective orders to limit discovery, and
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annoyance, embarrassment, oppression, or undue burden or expense, including one
of the following:... (D) forbidding inquiry into certain matters, or limited the scope of
disclosure to certain matters. Fed, R. Civ. P Rule 26().. Moreover, the courts have
acknowledged that federal law recognizes a qualified nght to privacy. Stafford u Soaal
Seamity A drinistration et al., 2006 WL 870988 (ND. Cal. 2006), at *2. Finally, in
Califomia, the records of peace officers are confidential, and only certain designated
individuals and entities are entitled to view them. (Califomia Evidence Code §1043 et
seq.; California Penal Code §§832.5. 832.7, and 832.8).

To the extent that these “documents” mention other DHS officers or employees, the
City will request that the Court conduct an in camera review. The City will also
move to redact those documents or sections which implicate the privacy rights of
these third party individuals. The City will also seek a protective order in the event
that any information is ordered to be disclosed. (See Kelly u City of San Jose, 1987 US.
Dist. LEXIS 15271, at *3.)

7. Request copy of photograph of former officer Dennis Decker from his ID card or
other photo in his Personnel file.

This Request seeks information that is irrelevant. Parties may obtain discovery
regarding “... any matter, not privileged, that is relevant to the claim or defense of
any party.” Fed. R. Civ. P. Rule 26(b)(1). However, Courts are empowered to make
an order necessary to protect a party, witness, consumer or employee from

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oppressive demands. Fed, R. Civ. P. Rule 26 (c). Furthermore, courts are
empowered to issue protective orders to limit discovery, and “may make any order
which justice requires to protect a party or person from annoyance, embarrassment,
oppression, or undue burden or expense, including one of the following... (D)
forbidding inquiry into certain matters, or limited the scope of disclosure to certain
matters. Fed, R. Civ. P Rule 26(c).

8. Request a complete copy of Andrea Heath’s personnel file up and through June
2011. Thos records should include any and all IA investigations or other
investigations or counseling sessions conducted or being conducted on or against
Andrea Heath.

This Request is overly broad and it seeks confidential information from a peace
officer’s personnel file. Parties may obtain discovery regarding “. . . any matter, not
ptivileged, that is relevant to the claim or defense of any party.” Fed, R. Civ. P. Rule
26(b)(1). However, Courts are empowered to make an order necessary to protect a’
party, witness, consumer or employee from oppressive demands, including
unreasonable violations of privacy. Fed. R. Gv. P. Rule 26 (c). Furthermore, courts
are empowered to issue protective orders to limit discovery, and “may make any
order which justice requires to protect a party or person from annoyance,
embarrassment, oppression, or undue burden or expense, including one of the
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disclosure to certain matters. Fed, R. Civ. P Rule 26(c). Moreover, the courts have
acknowledged that federal law recognizes a qualified night to privacy. Stafford u Sodal
Secmity A crinistration 4 al, 2006 WL 870988 (N:D. Cal. 2006), at *2. Finally, in
California, the records of peace officers are confidential, and only certain designated
individuals and entities are entitled to view them. (Califomia Evidence Code §1043 et
seq.; California Penal Code §§832.5. 832.7, and 832.8).

The City objects to this Request because disclosure of Andrea Heath’s personnel file
will result in a violation of her federal and state recognized privacy rights.

9, Request a complete copy of any and all complaints Andrea Heath has made against
the department including complaints against the Chief, Command Staff, Sgt.
Anthony Sclafani and any other officer or officers on the department. To include
any and all IA investigative reports regarding those complaints.

This Request is overly broad and it seeks confidential information from a peace
officer’s personnel file. Parties may obtain discovery regarding “. . . any matter, not
privileged, that is relevant to the claim or defense of any party.” Fed. R. Civ. P. Rule
26(b)(1). However, Courts are empowered to make an order necessary to protect a
party, witness, consumer or employee from oppressive demands, including
unreasonable violations of privacy. Fed. R. Gv. P. Rule 26 (c). Furthermore, courts
are empowered to issue protective orders to limit discovery, and “may make any
order which justice requires to protect a party or person from annoyance,

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August 1, 2011

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embarrassment, oppression, or undue burden or expense, including one of the
following:... (D) forbidding inquiry into certain matters, or limited the scope of
disclosure to certain matters. Fed, R. Civ. P Rule 26(c). Moreover, the courts have
acknowledged that federal law recognizes a qualified right to privacy. Stafford u Socal
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California, the records of peace officers are confidential, and only certain designated
individuals and entities are entitled to view them. (California Evidence Code §1043 et
seq.; California Penal Code §§832.5. 832.7, and 832.8).

The City objects to this Request because disclosure will result in a violation of DHS
police officers’ federal and state recognized privacy rights. .

10. Request a complete copy of all training records including any Performance

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Improvement Plans, and copies of the FTO training officers daily observation
reports and any all records regarding Andrea Heath’s fitness for duty up to and
including any medical or psychological evaluations stating she is fit to return to duty
at this time.

This Request is overly broad and it seeks confidential information from a peace
officer’s personnel file. Parties may obtain discovery regarding “. . . any matter, not
privileged, that is relevant to the claim or defense of any party.” Fed. R. Gv. P. Rule
26(b)(1). However, Courts are empowered to make an order necessary to protect a
party, witness, consumer or employee from oppressive demands, including
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California, the records of peace officers are confidential, and only certain designated
individuals and entities are entitled to view them. (Califomia Evidence Code §1043 et
seq.; California Penal Code §§832.5. 832.7, and 832.8).

The City objects to this Request because disclosure of information from Andrea
Heath’s personnel file will result in a violation of her federal and state recognized
privacy rights.

Request a copy of a current video recording for any one minute in duration of the
camera on the monitors from cameras # 8 and 9 that are in the holding cells in the
DHSPD jail. The position of those cameras are in the same location as they were
back in 2005.

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This Request seeks information that is irrelevant. Parties may obtain discovery
regarding “. .. any matter, not privileged, that is relevant to the claim or defense of
any party.” Fed. R. Civ. P. Rule 26(b)(1). However, Courts are empowered to make
an order necessary to protect a party, witness, consumer or employee from
oppressive demands. Fed, R. Civ. P. Rule 26 (c). Furthermore, courts are
empowered to issue protective orders to limit discovery, and “may make any order
which justice requires to protect a party or person from annoyance, embarrassment,
oppression, or undue burden or expense, including one of the following... (D)
forbidding inquiry into certain matters, or limited the scope of disclosure to certain
matters. Fed, R. Civ. P Rule 26(c).

Request a copy of any and all medical records or investigations including and all
investigations being conducted regarding Andrea Heath and Sgt. Gabby Mendoza by
the Desert Hot Springs Police Department or any other agency.

This Request is overly broad and it seeks confidential information from a peace
officer’s personnel file, Parties may obtain discovery regarding “. . . any matter, not
privileged, that is relevant to the claim or defense of any party.” Fed. R. Gv, P. Rule
26(b)(1). However, Courts are empowered to make an order necessary to protect a
party, witness, consumer or employee from oppressive demands, including
unreasonable violations of privacy. Fed. R. Gv. P. Rule 26 (c). Furthermore, courts
are empowered to issue protective orders to limit discovery, and “may make any
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embarrassment, oppression, or undue burden or expense, including one of the
following:... (D) forbidding inquiry into certain matters, or limited the scope of
disclosure to certain matters. Fed. R. Civ. P Rule 26(). Moreover, the courts have
acknowledged that federal law recognizes a qualified right to privacy. Staforda Soaal
Scomrity A drrinistration et al, 2006 WIL 870988 (N.D. Cal. 2006), at *2. Finally, in
California, the records of peace officers are confidential, and only certain designated
individuals and entities are entitled to view them. (California Evidence Code §1043 et
seq,; California Penal Code §§832.5. 832.7, and 832.8).

The City objects to this Request because disclosure of Andrea Heath’s and Sgt.
Gabby Mendoza’s medical records and investigatory reports will result in a violation
of their federal and state recognized privacy rights.

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| Since the City is not a party to the litigation, it asserts sound and legitimate concerns that
unbridled disclosure of the requested information can result in a violation of privacy rights
for its current and former employees, as well as non-employees. Please contact me at your
earliest convenience so that we may discuss these matters further, and perhaps narrow the
scope of your client’s requests. My office is available so that we may meet in person;
otherwise, I am amenable to a telephone conference.

Sincere
MA aA

Lala Kahramanian

 

Helk

c: Patrick Williams, Chief of Police
Dan Bressler, Police Commander
Jason Simpson, Assistant City Manager
Ruben Duran, City Attomey

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PROOF OF SERVICE
STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

_ At the time of service, I was over 18 years of age and not a party to this
action. I am employed in the County of Los Angeles, State of California. My
business address is 333 South Grand Avenue, Suite 1670, Los Angeles, California

_On August 11, 2011, I served true copies of the following document(s)
described as NOTICE OF MOTION AND MOTION TO QUASH SUBPOENA;
MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATION OF
LALA KAHRAMANIAN IN SUPPORT OF THEREOF on the interested parties

in this action as follows:

Michael D. Schwartz, Esq.
Silver, Hadden, Silver, Wexler & Levine
1428 Second Street, Suite 200

| Santa Monica, CA 90407-2161

(310) 393-1486

BY OVERNIGHT DELIVERY: I enclosed said document(s) in an envelope or
package provided by the overnight service carrier and addressed to the persons at
the addresses listed in the Service List. I placed the envelope or package for
collection and overnight delivery at an office or a regularly utilized drop box of the
overnight service carrier or delivered such document(s) to a courier or driver
authorized by the overnight service carrier to receive documents.

I declare under penalty of perjury under the laws of the United States of
America that the foregoing is true and correct and that I am employed in the office
of a member of the bar of this Court at whose direction the service was made.

Executed on August 11, 2011, at Los Angeles, California.

HO. Vy

Patricia Anne McNulty

 

 

 
 

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PROOF OF SERVICE
STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

_ At the time of service, I was over 18 years of age and not a party to this
action. I am employed in the County of Los Angeles, State of California. My
business address is 333 South Grand Avenue, Suite 1670, Los Angeles, California

_On August 11, 2011, I served true copies of the followin document(s)
described as NOTICE OF MOTION AND MOTION TO QUASH SUBPOENA;
MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATION OF
LALA KAHRAMANIAN IN SUPPORT OF THEREOF on the interested parties

in this action as follows:

Steven M. Arkow, Esq.

Cheryl L. O'Connor, Esq.
AUSA - Office of US Attorney
Criminal Div - US Courthouse
312 North Spring St., 13th Floor
Los Angeles, CA 90012-4700
213) 894-2434

213) 894-6296 (fax)

BY MAIL: I enclosed the document(s) in a sealed envelope or package addressed
to the persons at the addresses listed in the Service List and placed the envelope for
collection and mailing, following our ordinary business practices. I am readily
familiar with Meyers, Nave, Riback, Silver & Wilson's practice for collecting and |
processing correspondence for mailing. On the same day that the correspondence is
placed for collection and mailing, it is deposited in the ordinary course of business
with the United States Postal Service, in a sealed envelope with postage fully
prepaid.

I declare under penalty of perjury under the laws of the United States of
America that the foregoing is true and correct and that I am employed in the office
of a member of the bar of this Court at whose direction the service was made.

Executed on August 11, 2011, at Los Angeles, California.

Patricia Anne McNulty

 

 

 

 

 
